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                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS

LAYUNICE CONFER,                                       )
                                                       )
      Plaintiff,                                       )       Removed from 18 L 002830
vs.                                                    )
                                                       )       Jury Demanded
RPAI US MANAGEMENT, LLC a foreign                      )
limited liability company, NEW ALBERTSON’S,            )
INC., a foreign corporation, d/b/a JEWEL-OSCO,         )
and JEWEL FOOD STORES, INC.,                           )
a foreign corporation,                                 )
                                                       )
      Defendants.                                      )

                                         NOTICE OF REMOVAL

        RPAI US MANAGEMENT LLC, incorrectly sued as “RPAI US MANAGEMENT, LLC”, the

 Defendant in the above entitled cause, seeks removal from the Circuit Court of Cook County and to the

 United States District Court, Northern District of Illinois, Eastern Division and, in support thereof,

 allege as follows:

        1.         This action was commenced against RPAI US MANAGEMENT, LLC, in the Circuit

 Court of Cook County, Illinois on 3/19/18. A copy of Plaintiff’s Complaint was served upon Defendant

 RPAI US MANAGEMENT LLC on 5/15/18.

        2.         At the time the action was commenced and since then, upon information and belief, the

 Plaintiff was and is a citizen of the County of Cook, State of Illinois and Defendant, RPAI US

 MANAGEMENT LLC, was and is a corporation organized and existing under the laws of the State of

 Delaware with its principal place of business in Oak Brook, Illinois.

        3.         The amount in controversy exceeds $75,000.00 exclusive of interest and costs, as appears

 from Plaintiff’s Complaint. (A copy of which is attached hereto and incorporated herein by reference in

 this Notice as Exhibit “A”). Plaintiff, LAYUNICE CONFER, allegedly sustained injuries to her body

 and limbs, both internally and externally, as well as bodily pain and injury from the time of the incident
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until now and will allegedly continue to sustain them in the future. Plaintiff has demanded judgment

against Defendant in an amount in excess of $50,000.00. On information and belief, Plaintiff sustained

injuries to her shoulder and has accrued medical bills in excess of $17,000.00.

       4.       This action is a civil one of which the United States District Courts have original

jurisdiction under 28 USC §1332.

       5.       The Defendant RPAI US MANAGEMENT LLC attaches to this notice copies of all

process, pleadings, and orders that have been served on it. (A copy of which are attached hereto and

incorporated by reference in this Notice as Exhibit “B”).

       WHEREFORE, the Defendant, RPAI US MANAGEMENT LLC, prays that this cause be

removed to the United States District Court for the Northern District of Illinois.


                                                              BRYCE DOWNEY & LENKOV LLC

                                                              RPAI US MANAGEMENT LLC,

                                                        By:   s:/Rich Lenkov
                                                              One of Defendant’s Attorneys


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STATE OF ILLINOIS             )
                              )   SS.
COUNTY OF COOK                )


       Rich Lenkov, being first duly sworn on oath, deposes and says that:

1. He is one of the attorneys for the Defendant in this cause;

2. He has prepared and read the notice of removal filed in this cause and has personal knowledge of
   the facts and matters contained in it; and

3. The facts and allegations contained in the notice of removal are true and correct.



                                                             BRYCE DOWNEY & LENKOV LLC

                                                             RPAI US MANAGEMENT LLC,

                                                       By:   s:/Rich Lenkov
                                                             One of Defendant’s Attorneys




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